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     Attorneys for Plaintiff John Castorina
16
17                               UNITED STATES DISTRICT COURT

18                             EASTERN DISTRICT OF CALIFORNIA

19
20   JOHN CASTORINA, individually and on         Case No. 2:21-CV-02004-WBS-KJN
     behalf of all others similarly situated,
21                                               STIPULATION TO EXTEND TIME FOR
                            Plaintiff,           DEFENDANT BANK OF AMERICA, N.A.
22                                               TO RESPOND TO COMPLAINT AND
     v.                                          SET BRIEFING SCHEDULE FOR
23                                               MOTION TO DISMISS
     BANK OF AMERICA, N.A. and INTEGON
24   NATIONAL INSURANCE COMPANY,                 Judge: Hon. William B. Shubb

25                         Defendants.

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          STIPULATION TO EXTEND TIME FOR DEFENDANT BANK OF AMERICA, N.A. TO RESPOND TO
                   COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTION TO DISMISS
                                  CASE NO. 2:21-CV-02004-WBS-KJN
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 1         STIPULATION TO EXTEND TIME FOR DEFENDANT BANK OF AMERICA, N.A.
                 TO RESPOND TO COMPLAINT AND SET BRIEFING SCHEDULE
 2                             FOR MOTION TO DISMISS
 3            Plaintiff John Castorina (“Plaintiff”) and Defendant Bank of America, N.A. (“BANA”)

 4   (together, the “Parties”), through their undersigned counsel, hereby submit this Stipulation to

 5   Extend Time for Defendant Bank of America, N.A. to Respond to Complaint and Set Briefing

 6   Schedule for Motion to Dismiss as follows:

 7            1.     Plaintiff filed the Complaint in this matter on October 29, 2021.

 8            2.     Plaintiff served the Complaint on Defendant on November 3, 2021.

 9            3.     Pursuant to Rule 12(a) of the Federal Rules of Civil Procedure, BANA must

10   answer or otherwise respond to the Complaint by November 24, 2021.

11            4.     BANA recently engaged counsel for this matter.

12            5.     Given the need for BANA and its counsel to investigate Plaintiff’s allegations and

13   the upcoming holiday season, counsel for Parties conferred and agreed on the following briefing

14   schedule, subject to the Court’s approval:

15                   a.      BANA’s response to Plaintiff’s Complaint will be submitted on or before

16   January 12, 2022.

17                   b.      Should BANA move to dismiss the Complaint, Plaintiff’s response brief

18   will be due on or before February 23, 2022, and BANA’s reply brief will be due on or before

19   March 16, 2022.

20            6.     There have been no extensions of time in this case.

21            Accordingly, it is hereby agreed to and stipulated by the Parties, and respectfully

22   requested that the Court enter the proposed order that:

23            BANA shall answer or otherwise respond to the Complaint on or before January 12, 2022;

24   and should BANA move to dismiss the Complaint, Plaintiff’s response brief will be due on or

25   before February 23, 2022, and BANA’s reply brief will be due on or before March 16, 2022.

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           STIPULATION TO EXTEND TIME FOR DEFENDANT BANK OF AMERICA, N.A. TO RESPOND TO
                    COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTION TO DISMISS
                                   CASE NO. 2:21-CV-02004-WBS-KJN
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 1                                                   ORDER

 2
 3           IT IS SO ORDERED:

 4          BANA shall answer or otherwise respond to the Complaint on or before January 12, 2022;

 5   and should BANA move to dismiss the Complaint, Plaintiff’s response brief will be due on or

 6   before February 23, 2022, and BANA’s reply brief will be due on or before March 16, 2022.

 7   Hearing on said motion (if filed) shall be set for March 21, 2022 at 1:30 p.m. The Scheduling

 8   Conference is continued May 9, 2022 at 12:30 p.m. A joint status report shall be filed no later

 9   than April 25, 2022.

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            Dated: November 17, 2021
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       STIPULATION TO EXTEND TIME FOR DEFENDANT BANK OF AMERICA, N.A. TO RESPOND TO
                COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTION TO DISMISS
                               CASE NO. 2:21-CV-02004-WBS-KJN
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 1   Respectfully submitted,

 2
 3
     Dated: November 16, 2021         /s/ William K. Pao
 4                                        William K. Pao

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14                                    Attorneys for Defendant
                                      Bank of America, N.A.
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16   Dated: November 16, 2021          /s/ Daniel J. Stewart (as authorized on 11/16/2021)
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21
                                       Attorneys for Plaintiff
22                                     John Castorina
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       STIPULATION TO EXTEND TIME FOR DEFENDANT BANK OF AMERICA, N.A. TO RESPOND TO
                COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTION TO DISMISS
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 1                                    CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

 3   filed on November 16, 2021, with the Clerk of the Court using CM/ECF which caused a copy to

 4   be served on all counsel of record.

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            Dated: November 16, 2021
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 7                                                    By:   /s/ William K. Pao
                                                                William K. Pao
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       STIPULATION TO EXTEND TIME FOR DEFENDANT BANK OF AMERICA, N.A. TO RESPOND TO
                COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTION TO DISMISS
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